                                   No. 20-2954

                              IN THE
                  UNITED STATES COURT OF APPEALS
                      FOR THE EIGHTH CIRCUIT


                    MORNINGSIDE CHURCH, INC., et al.,

                              Plaintiffs-Appellants,

                                        v.

LESLIE RUTLEDGE, in her official capacity as the Attorney General for the State
                          of Arkansas, et al.,

                              Defendants-Appellees.

                   Appeal from the United States District Court
                      for the Western District of Missouri


   NOTICE OF PARTIAL SETTLEMENT AND JOINT MOTION TO
DISMISS APPEAL WITH RESPECT TO APPELLEE LESLIE RUTLEDGE


      Appellants Morningside Church, Inc. (“Morningside Church”), Morningside

Church Productions, Inc. (“Morningside Church Productions”), and Pastor Jim

Bakker (“Pastor Bakker”) (collectively, the “Morningside Parties”), and Appellee

Leslie Rutledge, in her official capacity as the Attorney General for the State of

Arkansas (“Rutledge”), hereby provide the Court with notice that the dispute

between them at issue in this appeal has been resolved by a settlement that renders

this appeal moot with respect to Rutledge only, and jointly move the Court to enter

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its order dismissing the appeal with respect to Rutledge only. In support of their

motion, the Morningside Parties and Rutledge state:

      1.     On September 9, 2021, Morningside Church Productions, Pastor

Bakker, and Rutledge entered into a settlement agreement and executed a Consent

Judgment in connection with a lawsuit filed by Rutledge in the Circuit Court of

Pulaski County, Arkansas, styled State of Arkansas, ex rel. Leslie Rutledge, Attorney

General v. Morningside Church Productions, Inc., et al., Case No. 60CV-20-3460,

and submitted the same for approval by that court.

      2.     In connection with that settlement agreement, Morningside Church

Productions, Pastor Bakker, and Rutledge stipulated that the Civil Investigative

Demand issued by Rutledge seeking disclosure of documents and information from

the Morningside Parties, which is at issue in this appeal, “would no longer be

necessary,” rendering this appeal moot as to Rutledge.

      3.     The Morningside Parties and Rutledge are each to bear their own costs

and attorney fees incurred in this appeal.

      WHEREFORE, Appellants Morningside Church, Inc., Morningside Church

Productions, Inc., and Pastor Jim Bakker, and Appellee Leslie Rutledge, in her

official capacity as the Attorney General for the State of Arkansas, respectfully

request the Court to enter its order dismissing this appeal as to Rutledge only, on the

terms set forth herein.


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                                    Respectfully submitted,

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                          CERTIFICATE OF COMPLIANCE

      1.     This motion complies with the length limit requirements of Fed. R.

App. P. 27(d)(2) because it contains 610 words.

      2.     This motion complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in a proportionally spaced typeface using Microsoft Word 2016 in

size 14, Times New Roman font.

                                              /s/    Derek A. Ankrom




                             CERTIFICATE OF SERVICE

      I hereby certify that on this 10th day of September, 2021, I electronically filed

the foregoing with the Clerk of the Court for the United States Court of Appeals for

the Eighth Circuit by using the CM/ECF system. I certify that all participants in the

case are registered CM/ECF users and that service will be accomplished by the

CM/ECF system.

                                              /s/    Derek A. Ankrom




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